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                                                                       CLERK'S OFFICE U.S. DISTRICT COURT
                                                                                AT ABINGDON,VA
                                                                                     FILED

                                                                                   JUN 22 2219
                         IN THE UNITED STATES DISTRICT COURT                    JULIA        D   .CL K
                        FOR THE W ESTERN DISTRICT OF VIRGW IA                      :    r           ,   ?
                                  ABINODON DIVISION                                         TY   eRK
 KERA FERGU SON ,
               Plaintiff,

 V.                                                                      1:19-cv-00006

 K ROGER LIM ITED PARIN ERSH IP 1,

               Defendanti

               STIPULA TIO N AND O RDER OF DISM ISSAL W ITH PREJUDICE

        PursuanttoFederalRuleofCivilProcedure41(a)(2),plaintiff,KeraFerguyon,and
 defendant,KrogerLim ited Partnership 1,by and through theirundersigned counsel,com ebefore
 theCoul-tto stipulate to dism issalofthism atterin its entlrety,asthe partiesagreeto dismissalof

 thisactionwithprejudlce.
        Forgood cause shown,and itappearing to the Courtthatthe partieshavereached a

 settlement,itis hereby O RD ERED thatthism atterbe and hereby isD ISM ISSED W ITH

 PREJUDICE. Each party isto pay itsown costsand attorneys'feesin thism atter.

        This OrderisFIN AL.
        Enteredthis 1 5 dayoç l#<                 ,,2n19.


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 CounselforDe#ndant

 /s/ AnthonyE..Colli/ltk             -


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